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                IN THE UNITED STATES DISTRICT COURT
                    NOTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

______________________________________________
JOSE RAMOS and GREGARIO LOPEZ,                    )
Individually and on Behalf of All Those Similarly )
Situated,                                         )
                                                  ) Case No.:__________
Plaintiffs,                                       )
                                                  )
v.                                                )
                                                  )
CUMMINS ENTERPRISES, INC., and KEVIN              )
CUMMINS, Jointly and Severally,                   )
                                                  )
Defendants.                                       )
______________________________________________)

                    COLLECTIVE ACTION COMPLAINT
                         (Jury Trial Demanded)

      Plaintiffs, Jose Ramos and Gregario Lopez, individually and on behalf of all

others similarly situated, upon personal knowledge as to themselves and upon

information and belief as to other matters, allege as follows:

                           NATURE OF THE ACTION

1.    Defendants operate a commercial construction, demolition, and excavation

company called Cummins Enterprises, Inc. based out of Cartersville, Georgia.


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2.    Plaintiff Ramos worked for Cummins Enterprises, Inc. as a welder.

3.    Plaintiff Lopez worked for Cummins Enterprises, Inc. as a welder’s helper.

4.    Plaintiffs were paid straight-time for all hours worked, despite working in

excess of 40 hours per week throughout their employment.

5.    The exact number of employees who have suffered the same unpaid overtime

wage injury as Plaintiffs, and have yet to receive redress is unknown at this time, but

believed to be at least 20.

6.    Plaintiffs brings this action on behalf of themselves and all other similarly

situated employees of Defendants, to recover unpaid overtime premium pay, owed

to them pursuant to the Fair Labor Standards Act (FLSA), 29 U.S.C. §§ 201 et seq.,

and supporting regulations.

                          JURISDICTION AND VENUE

7.     This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. §§ 1331, 1337, 1343. In addition, the Court has jurisdiction over Plaintiffs’

claims under the FLSA pursuant to 29 U.S.C. § 216(b).

8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391 because a

substantial part of the events or omissions leading to this claim occurred while


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Plaintiffs performed work for Cummins Enterprises, Inc. in Fulton County, Georgia

and Cobb County, Georgia.

9.    This Court is empowered to issue a declaratory judgment pursuant to 28

U.S.C. §§ 2201 and 2202.

                                 THE PARTIES

      Plaintiffs:

10.   Plaintiff, Jose Ramos, was at all relevant times, an adult individual residing

at 72 Burnt Hickory Dr., Cartersville, GA, 30120, which is in Bartow County.

11.   Plaintiff, Gregario Lopez, was at all relevant times, an adult individual

residing at 72 Burnt Hickory Dr., Cartersville, GA, 30120, which is in Bartow

County.

      Defendants:

12.   Defendant Cummins Enterprises, Inc., is an active Georgia corporation. Its

principal place of business is 120 Riverside Dr. SW, Cartersville, GA, 30120, which

is in Bartow County.

13.   Upon information and belief, Defendant Kevin Cummins is an owner, officer,

director and/or managing agent of Cummins Enterprises, Inc. Mr. Cummins’ address


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is unknown at this time.

14.   Kevin Cummins (the “Individual Defendant”) participated in the day-to-day

operations of Cummins Enterprises, Inc., and acted intentionally and maliciously.

The individual Defendant is considered an “employer” pursuant to the FLSA, 29

U.S.C. § 203(d), and the regulations promulgated under 29 C.F.R. § 791.2, and is

jointly and severally liable with Cummins Enterprises, Inc. (the “Corporate

Defendant”).

15.   Upon information and belief, the Individual Defendant jointly set the unlawful

payroll policies complained of in this complaint for all Corporate Defendant.

16.   At all relevant times, Defendants have been employers of Plaintiffs, and/or

joint employers within the meaning of the FLSA.

17.   Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000, within the meaning of 29 U.S.C. § 203(s)(1)(A)(ii).

18.   Additionally, upon information and belief, at all relevant times, Defendants

have had employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce, in that they run a commercial

construction company that obtains much of its equipment and supplies from various


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parts of the United States, within the meaning of 29 U.S.C. § 203(s)(1)(A)(i).

Furthermore, Defendants perform construction services such as creating building

infrastructures for businesses which operate in interstate commerce, within the

meaning of 29 U.S.C. § 203(s)(1)(A)(i).

                          STATEMENT OF FACTS

19.    At all relevant times, Defendants have been in the construction industry,

supplying customers with their construction, demolition, and excavation needs.

20.    Upon information and belief, the Individual Defendant handles payroll and

record keeping and is actively involved with the day-to-day operations of the

business.

21.   Plaintiff Ramos was employed by Defendants as a welder. Mr. Ramos’s job

duties included: joining, fabricating, and repairing metal and other weldable material

by applying welding techniques and operating various welding devices. Mr. Ramos

worked for Defendants from May 2005 to September 24, 2017.

22.   Mr. Ramos worked an average of 64 hours per week.

23.   Mr. Ramos was paid $19 per hour. Mr. Ramos was paid straight-time for all

hours worked for each week of his employment.


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24.        Plaintiff Lopez was employed by Defendants as a welder’s helper. Mr. Lopez’s

job duties included: assisting the welders with welding, and servicing and repairing

machines and equipment. Mr. Lopez worked for Defendants from July 2012 to July

31, 2016.

25.        Mr. Lopez worked an average of 64 hours per week.

26.        Mr. Lopez was paid $12 per hour. Mr. Lopez was paid straight-time for all

hours worked for each week of his employment.

27.        This failure to pay overtime premium wages to these blue-collar hourly

workers can only be considered a willful violation of the FLSA, within the meaning

of 29 U.S.C. § 255(a).

                                         STATEMENT OF CLAIM

28.        Mr. Ramos worked 64 hours per week, which includes 40 regular hours and

24 overtime hours. Mr. Ramos was paid straight-time for all hours worked. His rate

of pay was $19 per hour, so his “half-time rate” is $9.50 per hour, for the purposes

of computing overtime. 1 24 overtime hours multiplied by $9.50 half-time rate,

equals $228 unpaid overtime per week. The relevant employment period for the


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    The half-times-rate is determined by dividing the regular rate of pay by 2.

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purposes of this FLSA action is April 5, 2015 to September 24, 2017 (129 weeks).

129 weeks multiplied by $228 unpaid overtime per week, equals $29,412 in unpaid

overtime wages. If the Court grants liquidated damages for Mr. Ramos, pursuant to

29 U.S. Code § 216(b), then the total damages are $29,412 plus $29,412, which

equals $58,824.

29.   Therefore, Plaintiff Ramos is owed $58,824.

30.   Mr. Lopez worked 64 hours per week, which includes 40 regular hours and 24

overtime hours. Mr. Lopez was paid straight-time for all hours worked. His rate of

pay was $12 per hour, so his “half-time rate” is $6 per hour, for the purposes of

computing overtime. 24 overtime hours multiplied by $6 half-time rate, equals $144

unpaid overtime per week. The relevant dates of employment for this FLSA action

are April 5, 2015 to July 31, 2016 (69 weeks). 69 weeks multiplied by $144 unpaid

overtime per week, equals $10,080 in unpaid overtime wages. If the Court grants

liquidated damages for Mr. Lopez, pursuant to 29 U.S. Code § 216(b), then the total

damages are $9,936 plus $9,936, which equals $19,872.

31.   Therefore, Plaintiff Lopez is owed $19,872.

32.   The total owed to the two Plaintiffs is $58,824 plus $19,872, which equals


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$79,696 in overtime damages.

                FLSA COLLECTIVE ACTION ALLEGATIONS

33.    Pursuant to 29 U.S.C. §§ 207 & 216(b), Plaintiffs bring their First Cause of

Action as a collective action under the FLSA on behalf of himself and the following

collective:

      All persons employed by Defendants, at any time since April 5, 2015,
      and through the entry of judgment in this case (the “Collective Action
      Period”) who worked as a welders, welder’s helpers, construction
      workers, demolition workers, and all other hourly employees (the
      “Collective Action Members”).

34.    A collective action is appropriate in this circumstance because Plaintiffs and

the Collective Action Members are similarly situated, in that they were all subjected

to Defendants’ illegal policy of failing to pay an overtime premium for work

performed in excess of 40 hours per week. As a result of this policy, Plaintiffs and

the Collective Action Members did not receive the legally-required overtime

premium payments for all hours worked in excess of 40 hours per week.

35.   The exact number of employees who have suffered the same unpaid overtime

wage injury as Plaintiffs, and have yet to receive redress is unknown at this time, but

believed to be at least 20.


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                     FIRST CAUSE OF ACTION
          FAIR LABOR STANDARDS ACT – UNPAID OVERTIME

36.    Plaintiffs, on behalf of himself, the Collective Action Members, and the Class

Members, repeat and reallege each and every allegation of the preceding paragraphs

hereof with the same force and effect as though fully set forth herein.

37.   As a result of Defendants’ failure to compensate its employees, including

Plaintiffs and Collective Action Members, at a rate of not less than one and one-half

times their regular rate of pay for work performed in excess of 40 hours per week,

Defendants have violated and continue to violate the FLSA, 29 U.S.C. § 201 et seq.,

including 29 U.S.C. § 207(a)(1) and 215(a), for which Plaintiffs and the Collective

Action Members are entitled to relief pursuant to 29 U.S.C. 216(b).

38.    Defendants have failed to pay overtime to these hourly employees, with no

colorable argument as to why these workers are exempt. This constitutes a willful

violation of the FLSA within the meaning of 29 U.S.C. § 255(a).

39.    The failure to pay overtime has caused Plaintiffs to suffer lost wages and

interest thereon. Plaintiffs and Collective Action Members are entitled to recover

from Defendants his unpaid overtime compensation, liquidated damages, attorney's



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fees, and costs and disbursements of the action pursuant to 29 U.S.C. § 216(b).

                                PRAYER FOR RELIEF

          Therefore, Plaintiffs respectfully request that this Court grant the following

relief:

a. An order tolling the relevant statutes of limitations;

b. An order declaring that Defendants violated the FLSA;

c. An award of unpaid overtime wages due under the FLSA;

d. An award of liquidated and/or punitive damages as a result of Defendant's willful

failure to pay overtime wages

e. An award of prejudgment and post-judgment interest;

f. An award of costs and expenses of this action together with attorney's fees;

g. Such other and further relief and this Court deems just and proper.

                           DEMAND FOR TRIAL BY JURY

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs

demand a trial by jury on all questions of fact raised by the complaint.

Dated: April 5, 2018

                                         Respectfully submitted,


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                           s/ Brandon A. Thomas
                           BRANDON A. THOMAS
                           GA BAR NO.: 742344
                           The Law Offices of Brandon A. Thomas, PC
                           1800 Peachtree Street, N.W., Suite 300
                           Atlanta, GA 30309
                           Tel: (404) 343-2441
                           Fax: (404) 352-5636
                           brandon@brandonthomaslaw.com




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